                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

 In re:                                                Chapter 11

 BOY SCOUTS OF AMERICA AND                             Case No. 20-10343 (LSS)
 DELAWARE BSA, LLC,
                                                       Jointly Administered
                                Debtors.


          NOTICE OF APRIL 4, 2023 VIRTUAL TOWN HALL MEETING
  TO DISCUSS OUTCOME OF APPEAL OF THE PLAN & CONFIRMATION ORDER

                  PLEASE TAKE NOTICE that the Official Committee of Tort Claimants’ (the

“TCC”) and the Coalition of Abused Scouts for Justice (the “Coalition”) will hold a Town Hall

Meeting on April 4, 2023 at 8:00 p.m. (ET). The details for the next meeting are below:

          Zoom: https://pszjlaw.zoom.us/j/85281284960 (no registration required)

          One-Tap Mobile: +16694449171,,85281284960#

          Dial-In by Telephone: 1-888-788-009 (toll-free), Webinar ID: 852 8128 4960. If asked
          for a “Participant ID,” just press #

                  PLEASE TAKE FURTHER NOTICE that, pursuant to section 1102(b)(3) and

1103(c) of the Bankruptcy Code, the TCC holds virtual town hall meetings to provide updates and

access to information about the bankruptcy cases for Survivors of childhood sexual abuse and their

representatives who are not appointed to the Tort Claimants’ Committee.

                  PLEASE TAKE FURTHER NOTICE that the topics of discussion for the Town

Hall will include:

                                             Topics
           Introduction of Judge Barbara Houser (Ret.) – Settlement Trustee

           Plan & Confirmation Order Affirmed by District Court

           Next Steps



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                  PLEASE TAKE FURTHER NOTICE that recordings and transcripts of all Town

Hall meetings are posted after they are concluded at www.tccbsa.com.


Dated: March 29, 2023         PACHULSKI STANG ZIEHL & JONES LLP

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                              -and-

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